Case 1-25-44005-e€SS DOC LUO Filed Ufilifeo Entered O//ilico LLiOli4g

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25 JAY STREET LLC.

Debtor Name

United States Bankruptcy Court for the: EASTERN. District of _NEW YORK.

23-44083 (ESS). O) Check if this is an

Case number: amended filing

Official Form 425C

Monthly Operating Report for Small Business Under Chapter 11 12/17
Month: June. Date report filed: 07/09/25

MM / DD /YYYY
Line of business: Peal Estate Holding Company. NAISC code: 531190

In accordance with title 28, section 1746, of the United States Code, | declare under penalty of perjury
that | have examined the following small business monthly operating report and the accompanying
attachments and, to the best of my knowledge, these documents are true, correct, and complete.

Responsible party: Simon Whitley

Original signature of responsible party

Printed name of responsible party Simon Whitley

a 1. Questionnaire

Answer all questions on behalf of the debtor for the period covered by this report, unless otherwise indicated.

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5°

N/A
If you answer No to any of the questions in lines 1-9, attach an explanation and label it Exhibit A.

Did the business operate during the entire reporting period?

Do you plan to continue to operate the business next month?

Have you paid all of your bills on time?

Did you pay your employees on time?

Have you deposited all the receipts for your business into debtor in possession (DIP) accounts?
Have you timely filed your tax returns and paid all of your taxes?

Have you timely filed all other required government filings?

Are you current on your quarterly fee payments to the U.S. Trustee or Bankruptcy Administrator?

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Have you timely paid all of your insurance premiums?

If you answer Yes to any of the questions in lines 10-18, attach an explanation and label it Exhibit B.

10. Do you have any bank accounts open other than the DIP accounts?

11. Have you sold any assets other than inventory?

12. Have you sold or transferred any assets or provided services to anyone related to the DIP in any way?
13. Did any insurance company cancel your policy?

14. Did you have any unusual or significant unanticipated expenses?

15. Have you borrowed money from anyone or has anyone made any payments on your behalf?

COOOoOCdO

16. Has anyone made an investment in your business?

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Debtor Name

17.
18.

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Have you paid any bills you owed before you filed bankruptcy?

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Have you allowed any checks to clear the bank that were issued before you filed bankruptcy?

oe 2. Summary of Cash Activity for All Accounts

19.

20.

21.

22.

23.

Total opening balance of all accounts : 294,455.97

This amount must equal what you reported as the cash on hand at the end of the month in the previous
month. If this is your first report, report the total cash on hand as of the date of the filing of this case.

Total cash receipts

Attach a listing of all cash received for the month and label it Exhibit C. Include all
cash received even if you have not deposited it at the bank, collections on
receivables, credit card deposits, cash received from other parties, or loans, gifts, or
payments made by other parties on your behalf. Do not attach bank statements in
lieu of Exhibit C.

Report the total from Exhibit C here. ¢_193,076:95

Total cash disbursements

Attach a listing of all payments you made in the month and label it Exhibit D. List the

date paid, payee, purpose, and amount. Include all cash payments, debit card

transactions, checks issued even if they have not cleared the bank, outstanding

checks issued before the bankruptcy was filed that were allowed to clear this month,

and payments made by other parties on your behalf. Do not attach bank statements

in lieu of Exhibit D. - 5 82,027.62

Report the total from Exhibit D here.

Net cash flow

+ $_ 111,049.33
Subtract line 21 from line 20 and report the result here. SSS
This amount may be different from what you may have calculated as net profit.

Cash on hand at the end of the month
Add line 22 + line 19. Report the result here. a 405,505.30
Report this figure as the cash on hand at the beginning of the month on your next operating report. =

This amount may not match your bank account balance because you may have outstanding checks that
have not cleared the bank or deposits in transit.

ie :. Unpaid Bills

24.

Attach a list of all debts (including taxes) which you have incurred since the date you filed bankruptcy but
have not paid. Label it Exhibit E. Include the date the debt was incurred, who is owed the money, the
purpose of the debt, and when the debt is due. Report the total from Exhibit E here.

Total payables $_78,168.93

(Exhibit E)

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25 JAY STREET LLC.
Case number 29-44083 (ESS).

Debtor Name

heal 4. Money Owed to You

Attach a list of all amounts owed to you by your customers for work you have done or merchandise you
have sold. Include amounts owed to you both before, and after you filed bankruptcy. Label it Exhibit F.
Identify wno owes you money, how much is owed, and when payment is due. Report the total from

Exhibit F here.
25. Total receivables ¢_71,751.69
(Exhibit F)
ja) 5. Employees
26. What was the number of employees when the case was filed?
27. What is the number of employees as of the date of this monthly report?
i 6. Professional Fees
28. How much have you paid this month in professional fees related to this bankruptcy case? $
29. How much have you paid in professional fees related to this bankruptcy case since the case was filed? $ _20,000.00_
30. How much have you paid this month in other professional fees? $
31. How much have you paid in total other professional fees since filing the case? $
= 7. Projections
Compare your actual cash receipts and disbursements to what you projected in the previous month.
Projected figures in the first month should match those provided at the initial debtor interview, if any.
Column A Column B Column C
Projected — Actual = Difference
Copy lines 35-37 from Copy lines 20-22 of Subtract Column B
the previous month's this report. from Column A.
report.
32. Cash receipts $ 193,076.95 93,076.95 ~ $ nese eaoiee ~  § eS
. . = 0.00
33. Cash disbursements $ a2 OZIESE - § _ 82,027.62 $_—
. -_ 111,049.33 = :
35. Total projected cash receipts for the next month: $
36. Total projected cash disbursements for the next month: =$§
37. Total projected net cash flow for the next month: =5

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25 JAY STREET LLC. Cave number 23°44083 (ESS).

Debtor Name

(ia 8. Additional Information

If available, check the box to the left and attach copies of the following documents.

Ww 38. Bank statements for each open account (redact all but the last 4 digits of account numbers).
Ww 39. Bank reconciliation reports for each account.

uw 40. Financial reports such as an income statement (profit & loss) and/or balance sheet.

Ww 41. Budget, projection, or forecast reports.

uw 42. Project, job costing, or work-in-progress reports.

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